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                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

RENAISSANCE BREWING, LLC, D/B/A                    §
SUDS MONKEY BREWING COMPANY,                       §
                                                   §
       Plaintiff,                                  §
                                                   §       Civil Action No. 5:20-CV-01084
vs.                                                §
                                                   §
HANSEN BRAND, LLC, D/B/A BREW                      §       JURY TRIAL DEMANDED
MONKEY BEER COMPANY and JIM                        §
HANSEN,                                            §
                                                   §
       Defendants.                                 §

                         PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff, Renaissance Brewing, LLC d/b/a Suds Monkey Brewing Co. (“Renaissance” or

“Plaintiff”), by and through its attorneys, Trent Nichols, PLLC and Lackenbach Siegel, LLP, file

this Original Complaint against Defendants, Hansen Brand, LLC (“HBLLC”) and Jim Hansen

(“Hansen”) (collectively “Defendants,” each a “Defendant”) as follows:

                                   NATURE OF ACTION

       1.      In this action, Renaissance seeks injunctive relief, lost profits, damages and

attorneys’ fees for Defendants’ acts of willful trademark infringement, false designation of

origin, false descriptions, and unfair competition, pursuant to the Lanham Act, 15 U.S.C. § 1051

et seq., and trademark infringement and unfair competition under Texas common law.

                      THE PARTIES, JURISDICTION, AND VENUE

       2.      This Court has jurisdiction over the subject matter of this action pursuant to 15

U.S.C. § 1121 and 28 U.S.C. § 1331, 1338, and 1367.
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        3.      Renaissance is a limited liability company organized under the laws of the State

of Texas, having its principle place of address at 1032 Canyon Bend Dr. Suite B, Dripping

Springs, Texas 78620.

        4.      The actions of the Defendant complained of in this Complaint have been and

continue to be committed within the Western District of Texas.

        5.      Upon information and belief, Defendant HBLLC is a limited liability company

organized and existing under the laws of the State of Texas, with a business address at 8619

Turning Leaf, Boerne, Texas 78015.

        6.      Upon information and belief, Defendant Hansen is an individual with a residence

address Boerne, Texas and a business address in San Antonio, Texas.

        7.      Upon information and belief, Hansen is a director, officer, and/or principal of

HBLLC, and has aided, abetted, controlled, and actively directed and caused HBLLC to commit,

and has himself individually committed, the acts complained of herein.

        8.      Upon information and belief Defendants contract to supply goods and/or services,

and/or transact business in Texas and within this judicial district; and the tortious acts of

Defendants complained of in this Complaint, including, without limitation, the infringement of

Renaissance’s trademarks, have caused harm to Renaissance within this judicial district.

        9.      Personal jurisdiction exists over the Defendants as both are residents of the State

of Texas and this judicial district.

        10.     Venue is proper in this district and this division pursuant to 28 U.S.C. § 1391.

                                   FACTUAL ALLEGATIONS

        11.     Renaissance owns a “brew pub” brewery and restaurant in Dripping Springs,

Texas, which it operates under the name “Suds Monkey Brewing Company” (the “Suds Monkey



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Brew Pub”). Since 2017, Renaissance has brewed and sold a wide variety of its craft beers and

ales to the public both at the Suds Monkey Brew Pub and online via its website located at

sudsmonkeybrew.com (via “to go” pickup). Renaissance also offers pizzas and salads both at the

Suds Monkey Brew Pub and online.

       12.    Renaissance’s “Suds Monkey” beers include IPAs (India Pale Ales), American

Pale Ales, Hefeweizen, Lagers, Blonde Ale, and Irish Stout, all of which are brewed on premises

at the Suds Monkey Brew Pub.

       13.    Since opening, the Suds Monkey Brew Pub has won numerous awards and has

become a critical and popular success at both its physical location and in through its Facebook

pages and other social media presences. The Suds Monkey Brew Pub has become a destination

for lovers of high quality craft beer in Dripping Springs and in the surrounding Austin and San

Antonio metropolitan and their wider suburban and exurban areas.

Renaissance’s Trademarks

       14.    Renaissance owns, and since at least 2017 has used the trademarks SUDS

MONKEY and SUDS MONKEY BREWING (collectively the “Suds Monkey Trademarks”) in

connection with brew pub services and beer. Renaissance has used its Suds Monkey Trademarks

openly, notoriously, and continuously since at least 2017 at the Suds Monkey Brew Pub, on

Facebook and other social media, in marketing and advertising, at beer and other festivals and

fairs, and on glasses, kegs, beer growlers (large pressurized jugs), shirts and other merchandise

used on premises and available for sale at the Suds Monkey Brew Pub and on its website.

       15.    Renaissance is the owner of United States Trademark Registration No. 5262143

and 5262141 (collectively, the “Registrations”) for the trademark SUDS MONKEY BREWING

(the “Registered Trademark”) for use in connection with brew pub services in International Class



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43, and in connection with beer in International Class 32, respectively (collectively, “Suds

Monkey Goods and Services”).

       16.     Renaissance has used the Registered Trademark openly, notoriously, and

continuously in interstate commerce in connection with the Suds Monkey Goods and Services

since the date of first use set forth in the Registrations, all times prior to any of the acts of

Defendant complained of herein.

       17.     Each of the Registrations for the Registered Trademark (the “Suds Monkey

Applications”) were initially filed by Renaissance on April 29, 2016, U.S Trademark Application

Serial Nos. 87/019,535 (International Class 43 for Brew Pub Services) and 87/019,505

(International Class 32 for Beer) as intent-to-use applications under Lanham Act § 1(b), and thus

each of the Registrations carries a priority date of April 29, 2016 (the “Priority Date”) which

Priority Date establishes Renaissance’s priority of use over Defendants in this action.

       18.     The Suds Monkey Trademarks, including the Registered Trademark, are

inherently distinctive and strong trademarks.

       19.     Because of Renaissance’s extensive use and promotions of the Suds Monkey

Trademarks, including the Registered Trademark, and in light of the unsolicited media coverage

and notoriety pertaining to Renaissance’s goods, services, and the Suds Monkey Trademarks, the

Suds Monkey Trademarks, including the Registered Trademark, have become distinctive and

prominent, have acquired a secondary meaning, and indicate and designate Renaissance as the

single source of origin of goods and services marketed, offered and sold in connection therewith.

       20.     Renaissance has used its Suds Monkey Trademarks extensively since their first

use, in connection with a variety of goods and services.




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       21.     Renaissance has advertised and otherwise promoted its Suds Monkey Trademarks

extensively since their first use, through social media, websites, and other means.

       22.     Renaissance’s Suds Monkey Goods and Services marketed, offered and sold in

connection with, and/or bearing the Suds Monkey Trademarks have been sold extensively.

       23.     Renaissance’s Suds Monkey Goods and Services marketed, offered and sold in

connection with, and/or bearing the Suds Monkey Trademarks have won awards for quality and

popularity and have been the subject of unsolicited media coverage.

       24.     By virtue of Renaissance’s use, advertising, promotion and sales of its Suds

Monkey Goods and Services in connection with and/or bearing the Suds Monkey Trademarks,

including the Registered Trademark, and the unsolicited media coverage featuring the Suds

Monkey Trademarks, the Suds Monkey Trademarks have have become associated with

Renaissance and have created an association between Renaissance and its Suds Monkey

Trademarks in the mind of consumers.

Defendants’ Infringing Activities

       25.     On or about September 1, 2020, Defendants opened a brewery and tap room in

San Antonio, Texas, which Defendants currently operate under the name “Brew Monkey Beer

Company” (the “Brew Monkey Brewery”). Defendants brew various “Brew Monkey” branded

beers and ales (the “Infringing Goods”), and offer their Infringing Product for sale and for tasting

(the “Infringing Services”) onsite at the Brew Monkey Brewery and online via their website

located at brewmonkeybeerco.com.

       26.     On information and belief, Defendants also offer and sell, and/or will offer and

sell, their Infringing Products at third-party brick and mortar retail stores throughout the San

Antonio and Austin metropolitan, and wider suburban and exurban areas.



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       27.     Defendants’ Infringing Goods and Defendants’ Infringing Services may be

collectively referred to as “Defendants’ Infringing Goods and Services.”

       28.     On information and belief, Defendants market and advertise their Infringing

Goods and Services online via their website, and through their Facebook pages, other social

media, and via other means of marketing and advertising.

       29.     The Infringing Goods offered and sold by Defendants consist of various craft beer

styles similar to the styles of craft beers and ales offered and sold by Renaissance, including

lager, blonde ales, IPA, Hefeweizen, and Irish stout.

       30.     Through their website, at their Brew Monkey Brewery, and through third party

brick and mortar retail stores, Defendants offer for sale and sell, and will continue to offer for

sale and sell, the Infringing Goods and Infringing Services within this judicial district.

       31.     Defendants caused to be filed U.S. Trademark Application Serial No. 87/391,192

(“Defendants’ Application”) to register the trademark BREW MONKEY BEER COMPANY

(the “Infringing Mark”) in connection with brew pub services in International Class 43 on March

29, 2017, on an intent-to-use basis under Lanham Act § 1(b).

       32.     In the event Defendants’ Application matures to a registration covering the

Infringing Mark in connection with brew pub services, Defendants’ priority date will be

significantly later than, and junior to, Renaissance’s Priority Date for its Registered Trademark.

       33.     Defendants’ Infringing Mark is confusingly similar to Renaissance’s Suds

Monkey Trademarks, including the Registered Trademark, in sight, sound, and connotation.

       34.     Defendants’ Infringing Goods and Services are related to the Suds Monkey Goods

and Services that Renaissance provides under and/or in connection with its Suds Monkey Marks.




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       35.    Upon information and belief, Defendants were aware of Renaissance and

Renaissance’s use of the Suds Monkey Trademarks in connection with the Suds Monkey Goods

and Services at the time Defendants adopted and began to use Defendants’ Infringing Mark.

       36.    Upon information and belief, Defendants adopted their Infringing Mark with the

intent to deceive consumers and to cause confusion among purchasers, for the purpose of

benefitting from the goodwill and public recognition associated with the Suds Monkey Marks

and diverting sales from Renaissance to Defendants.

       37.    The aforementioned acts of Defendants is causing and will cause a likelihood of

confusion in the minds of the trade and the public, and is damaging and will continue to damage

Renaissance’s reputation and goodwill in connection with the Suds Monkey Trademarks and the

Suds Monkey Goods and Services.

                              COUNT I
         REGISTERED TRADEMARK INFRINGEMENT (LANHAM ACT § 32)

       38.    Renaissance repeats and realleges each and every allegation contained in the prior

paragraphs and the same are incorporated herein and made a part hereof by this reference.

       39.    Renaissance is the owner of the Registered Trademarks and the Registrations.

       40.    The Registered Trademark and the Registrations are valid and subsisting.

       41.    Renaissance commenced using, and has continuously used the Registered

Trademark in commerce since its first use date.

       42.    Renaissance adopted and used the Registered Trademark prior to when

Defendants commenced using Defendants’ Infringing Mark.

       43.    Renaissance’s Priority Date for use of the Registered Trademark, based upon the

filing date of the Suds Monkey Applications, is earlier than, and senior to the earliest use date




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that Defendants can establish by virtue of their filing date for Defendants’ Application or

otherwise.

       44.     The Infringing Mark is confusingly similar to the Registered Trademark in sight,

sound, and connotation.

       45.     Renaissance’s Registered Trademark is a strong trademark, based on both its

inherent strength and its commercial strength.

       46.     Renaissance’s Suds Monkey Goods and Services are goods and services, which

are sold, distributed, furnished and/or advertised to the same or similar classes of purchasers as

Defendants’ Infringing Goods and Services.

       47.     Upon information and belief, Defendants were aware of Renaissance and of

Renaissance’s use of its Registered Trademark prior to the time Defendants selected and

commenced using Defendants’ Infringing Mark.

       48.     Upon information and belief, based upon, without limitation, the similarity of the

parties’ respective marks, Defendants’ prior knowledge of Renaissance and Renaissance’s use of

its Registered Trademark, and the relatedness of the parties’ goods and services and marketing

and advertising channels, Defendants’ conduct constitutes willful trademark infringement.

       49.     As a result of Defendants’ conduct, there is a strong likelihood of confusion,

mistake, and/or deception, and many persons familiar with Renaissance’s Registered Trademark

are likely to buy Defendants’ Infringing Goods and Services with the belief that Defendants are

affiliated with, or sponsored by Renaissance, and/or that Defendants’ Infringing Goods and

Services originate from Renaissance or are provided by or otherwise authorized or sponsored by

Renaissance.




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       50.     Accordingly, Defendants are engaged in infringement of Renaissance’s

Registered Trademark, in violation of the Lanham Act § 32, 15 U.S.C. § 1114(1), by using marks

wherein such use is likely to cause confusion or mistake, or to deceive.

       51.     On information and belief, Defendants intend to make, and have made, unlawful

gains and profits from such unlawful infringement and, by reason thereof, Renaissance has been

and will be deprived of rights and profits which otherwise would have come to Renaissance, but

for such infringements.

       52.     Renaissance has no adequate remedy at law for the injury alleged in this Count.

The injury is intangible in nature and not capable of being fully measured or valued in terms of

money damages. Further, the injury is of a continuing nature and will continue to be suffered so

long as Defendants continue their wrongful conduct.

       53.     Defendants’ acts are willful, malicious and wanton and Defendants will continue

its acts of willful infringement unless enjoined by this Court.

       54.     Notwithstanding the inadequacy of and the difficulty of presently fully

ascertaining Renaissance’s monetary damages caused by Defendants’ wrongful conduct,

Renaissance is informed and believes and, based upon such information and belief, alleges that

said conduct has resulted in irreparable, direct and proximate damages to Renaissance.

Renaissance seeks leave of this Court to amend its complaint to allege the full nature and extent

of said monetary damages, if and when, and to the extent the damages are ascertained.

                              COUNT II
       TRADEMARK INFRINGEMENT, FALSE DESIGNATION OF ORIGIN,
    FALSE DESCRIPTION, AND UNFAIR COMPETITION (LANHAM ACT ' 43(a))

       55.     Renaissance repeats and realleges each and every allegation contained in the prior

paragraphs, and the same are incorporated herein and made a part hereof by this reference.



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       56.     Renaissance is the owner of the Suds Monkey Trademarks.

       57.     The Suds Monkey Trademarks are inherently distinctive.

       58.     The Suds Monkey Trademarks have acquired distinctiveness and a secondary

meaning.

       59.     Renaissance commenced using, and has continuously used the Suds Monkey

Trademarks in commerce since their respective first use dates.

       60.     Renaissance adopted and used the Suds Monkey Trademarks prior to when

Defendants’ commenced using Defendants’ Infringing Mark, or otherwise prior to any priority

date Defendants can claim for the Infringing Mark.

       61.     Renaissance’s Priority Date for the Registered Mark is earlier in time that any

priority date Defendants can claim for the Infringing Mark.

       62.     Defendants’ offering and sales of their Infringing Goods and Services using

Defendants’ Infringing Mark creates a likelihood of confusion with Renaissance, Renaissance’s

Suds Monkey Trademarks, and with Renaissance’s offering and sales of its Suds Monkey Goods

and Services using its Suds Monkey Trademarks.

       63.     Defendants’ Infringing Mark is confusingly similar to the Suds Monkey

Trademarks in sight, sound, and connotation.

       64.     Renaissance’s Suds Monkey Goods and Services are goods and services, which

are sold, distributed, furnished and/or advertised to the same or similar classes of customers as

Defendants’ Infringing Goods and Services.

       65.     Upon information and belief, Defendants were aware of Renaissance and of

Renaissance’s use of its Suds Monkey Trademarks prior to the time Defendants selected and

commenced using Defendants’ Infringing Mark.



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       66.     Upon information and belief, based upon, without limitation, the similarity of the

parties’ respective marks, Defendants’ prior knowledge of Renaissance and Renaissance’s use of

its Suds Monkey Trademarks, and the relatedness of the parties’ goods and services and

marketing channels, Defendants’ conduct constitutes willful trademark infringement.

       67.     The acts of Defendants constitute willful infringement of the Suds Monkey

Trademarks, and the use of a false designations of origin, false representations, and unfair

competition, by inducing the erroneous belief that Defendants, Defendants’ Infringing Mark,

and/or Defendants’ Infringing Goods and Services are in some manner affiliated with, originate

from, and/or are sponsored by Renaissance, and by misrepresenting the nature and/or origin of

Defendants’ Infringing Goods and Services, are all in violation of Lanham Act § 43(a), 15

U.S.C. § 1125(a).

       68.     The acts of Defendants have caused irreparable harm and damage to Renaissance

and will continue to cause irreparable harm to Renaissance, and have caused and will continue to

cause Renaissance to suffer monetary damage in an amount thus far not determined.

       69.     Renaissance has no adequate remedy at law for the injury alleged in this count,

and said injury is, in part, intangible in nature and not capable of being fully measured or valued

entirely in terms of monetary damages.

       70.     Notwithstanding the inadequacy of and the difficulty of presently fully

ascertaining Renaissance’s monetary damages caused by Defendants’ wrongful conduct,

Renaissance is informed and believes and, based upon such information and belief, alleges that

said conduct has resulted in irreparable, direct and proximate damages to Renaissance.

Renaissance seeks leave of this Court to amend its complaint to allege the full nature and extent

of said monetary damages if, when and to the extent the damages are ascertained.



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                               COUNT III
             COMMON LAW INFRINGEMENT AND UNFAIR COMPETITION

       71.        Renaissance repeats and realleges each allegation contained in the prior

paragraphs and the same are incorporated herein and made a part hereof by this reference.

       72.        Upon information and belief, Defendants intentionally appropriated Renaissance’s

Suds Monkey Marks with the intent of causing confusion, mistake and deception as to the source

of Defendants’ Infringing Mark and Defendants’ Infringing Goods and Services, with the intent

to palm-off Defendants’ Infringing Goods and Services as those of Renaissance’s and to

misappropriate the efforts and good will of Renaissance.

       73.        The acts of Defendants have created a likelihood of confusion.

       74.        The acts of Defendants, including Defendants’ use of Defendants’ Infringing

Marks, constitute trademark infringement, in violation of the common law of the State of Texas.

       75.        The acts of Defendants, including Defendants’ use of Defendants’ Infringing

Mark, constitute unfair competition, in violation of the common law of the State of Texas.

       76.        The foregoing acts of Defendants have injured and will continue to injure

Renaissance, by depriving it of sales of its genuine goods and services, by injuring its business

reputation, and by passing off Defendants’ Infringing Mark and Defendants’ Infringing Goods

and Services as those of Renaissance, all in violation of the common law of the State of Texas.

       77.        Defendants’ acts have caused irreparable harm and damage to Renaissance and

have caused Renaissance monetary damage in an amount thus far not determined, for which

Renaissance is entitled to its actual damages, Defendants’ profits, punitive damages, attorneys’

fees and costs.




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       78.     Renaissance has no adequate remedy at law for the injury alleged in this count,

and said injury is, in part, intangible in nature and not capable of being fully measured or valued

entirely in terms of monetary damages.

       79.     Notwithstanding the inadequacy of and the difficulty of presently fully

ascertaining Renaissance’s monetary damages caused by Defendants’ wrongful conduct,

Renaissance is informed and believes and, based upon such information and belief, alleges that

said conduct has resulted in irreparable, direct and proximate damages to Renaissance.

Renaissance seeks leave of this Court to amend its complaint to allege the full nature and extent

of said monetary damages if, when and to the extent the damages are ascertained

                                            PRAYER

       WHEREFORE, PREMISE CONSIDERED, Renaissance respectfully prays for judgment

against Defendants as follows:

       A.      That Defendants’ conduct serves to infringe Renaissance's Registered

Trademarks, in violation of Lanham Act § 32, 15 U.S.C. § 1114.

       B.      That Defendants’ conduct serves to infringe Renaissance’s Marks, falsely

designate the origin of Defendants’ Goods, falsely describe such goods, and unfairly compete

with Renaissance, all in violation of Lanham Act § 43(a), 15 U.S.C. § 1125.

       C.      That Defendants’ conduct has injured Renaissance by depriving it of sales of its

genuine goods and services, by injuring its business reputation, and by passing off Defendants’

Infringing Marks and Defendants’ Goods as Renaissance’s Marks and goods, all in violation of

the common law of the State of Texas.

       D.      That Defendants and their directors, officers, members, managers, employees,

attorneys, agents, servants, parents, subsidiaries, affiliates, successors, heirs, assigns, and all



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others in active concert or participation with Defendants be preliminarily and permanently

enjoined from directly or indirectly:

            i. Using Renaissance’s Suds Monkey Marks, or any other marks which are similar

               to or are colorable imitations of Renaissance’s Suds Monkey Marks, alone or as a

               part of, or together with, any other designs, word or words, trademark, service

               mark, trade name, trade dress or other business or commercial designation or any

               logo, symbol or design;

            ii. Committing any act which, in and of itself, or from the manner or under the

               circumstances in which it is done amounts to false designation of origin, false

               description or false representation of Defendants’ goods and services; and

            iii. Otherwise unfairly competing with Renaissance.

       E.      That the Court issue an Order directing Defendants to file with the Court and

serve on Renaissance, within thirty (30) days after the service on Defendants of such injunctions,

a report in writing and under oath, setting forth in detail the manner and form in which

Defendants have complied with the injunction.

       F.      That the Court award judgment in favor of Renaissance for the damages sustained

by Renaissance and the profits made by Defendants as a result of Defendants’ wrongful conduct.

       G.      That the Court award judgment in favor of Renaissance in the amount of treble

damages.

       H.      That the Court award judgment against Defendants for the full costs of this action,

including reasonable attorneys’ fees.

       I.      That the Court award to Renaissance punitive damages sufficient to deter

Defendants from committing such willful acts of infringement in the future.




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       J.      That this Court requires a full and complete accounting of all monies received by

Defendants as a result of the sales made by or on behalf of Defendants under Defendants’

Infringing Mark.

       K.      For interest on all amounts found to be due to Renaissance from Defendants, at

the prevailing rate, from the date said amounts or any part thereof became or becomes due.

       L.      That the Court requires Defendants to notify their commercial associates,

suppliers, and customers of said Order.

       M.      That the Court orders such other, further, and different relief as the nature of this

action may require and that the Court may deem just and proper.

       N.      That the Court retains jurisdiction of this action for the purpose of enabling

Renaissance to apply to the Court, at any time, for such further orders and directions as may be

necessary or appropriate for the interpretation or execution of any order entered in this action, for

the modification of any such order, for the enforcement or compliance therewith and for the

punishment of any violations thereof.

       O.      That the Court issue an Order directing the U.S. Patent and Trademark Office to

deny registration to Defendants for Defendants’ Application and/or to cancel any registration(s)

resulting therefrom.

                                   JURY TRIAL DEMANED

       Plaintiff Renaissance hereby demands a jury trial of all issues so triable.




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Dated: September 11, 2020                    Respectfully submitted,

                                             TRENT NICHOLS, PLLC

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